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J Ameritrade Appendix C

Message center

Client services - Taxes

From: Message Center Client Services
To: scottS45303
Date: 8:19am ET 3/22/2023

Dear Scott Traudt,

Thank you for contacting TD Ameritrade! My name is Mike and | hope you are having a good day
so far. Your 1099 tax form can be located through the desktop website by going to the left side of
the screen to My Account > Tax Center. Through the mobile app, you can download the form by
going to Accounts > Docs > Tax Documents. Your tax document was posted online as of February

3,2023.

In regards to the phone cali, we cannot provide a recorded copy of the call. Cameron is a specialist
on the trade desk who holds his Series 63, Series 7 and Series 9 licenses. You can review his
information on brokercheck.org.

Thank you for your business with TD Ameritrade! Answers to many of your questions might be
found by going to Client Services > Help Center. Please reply here, give us a Call or if you have
additional questions and we would be happy to assist!

Michael Vaughn
Cent Services

TD Ameritrade
1-800-669-3900

TD Ameritrade, inc., member FINRA/SIPC, Not an offer or solicitation to conduct business in any
jurisdiction where we are not authorized to do business. Communications may be subject to
review.

Original Message Excluded:

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(KMM134064794V87508L0KM)

Case 2:24-cv-00782-cr Document 51-10 Filed 09/23/24 Page 2 of 3

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essage center
Client services - Taxes

“rom: Message Center Client Services
Fo: scott545303
Jate: 5:48pm ET 3/22/2023

dear Scott,

Thank you for choosing TD Ameritrade, my name is Grant Wells and it's my pleasure to assist you with this!

read through some of your previous messages to us and to answer one of your questions, yes we keep call recordings, however to my knowledge we
saryt provide them directly to clients. We can however request a manager to go through the recording in order to establish what was said.
“urthermore, it cauid even be possible for you to listen to the call with the manager together but | do not know that for a fact.

f you request to speak with a manager, we could put you in touch with one and they can look into a call recording if you have any
»omplaints/concerns of what information was given in a conversation with us.

n regards to us deleting messages you send to us, | don’t believe we can do that as we are required to save written correspondence with clients due
© industry regulations, It could also be the case that you're in the “Inbox” section of the message center and not the “Sent” section, I've actually had
his same problem with finding previous messages | have sent to TDA before, so if this is the case it's not just you!

f you are in the Sent section of the message center and still don’t see any previous messages you've sent us, that sound like it would be more of a
echnical issue, which you can call us at 1-800-669-3900 and try to walk you through troubleshooting steps live. Additionally we can try to help you
‘hrough this message ceriter but for tech issues, phone calls are generally.

f you ever have any questions, please feel free to reach out to us! We thank you for your continued business with us as we strive to help you
iccomplish your financial goals!

jest Regards,

brant Wells
cient Services
'D Ameritrade
1-800-669-3900

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S&P 500 0.91% DJIA -114% NASDAQ -0.10%

Message center

Re: Client services - Other

From: Message Center Client Services
To: scott545303
Date: 11:36am ET 2/28/2023

Dear Scott Traudt,

appreciate you taking the time to reach out to us, and | hope you are having a wonderful day so far! My
name is Eric, and lam happy to help you with your inquiry today!

Great question! The market maker your order was routed to is GTS. Let us know if you have any follow up
questions!

As always if you have any further questions, please respond to this message or contact us 24/7 at 1-800-
669-3900 and we will happily assist you. Thank you so much for doing business with TD Ameritrade and
have an excellent week!

Eric Riedmeier
Client Services

TD Ameritrade
1-800-669-3900

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jurisdiction where we are not authorized to do business. Communications may be subject to review,

(KMM133668772V2159L0KM)

